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                       THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION



NEAL ENGWALL, DEAN TREW,
CHRISTIE SIKORA, CAROL BRIAM,
ROBERT SMITH, JERRY LIVERS,
MARSHA WOODS, FRANK RUDD,
GREG BUNN, EARL SCHUBE,
JACQUES BRIAM, REMY BRIAM,                              CASE NO. 8:22-cv-00638
WILLIAM CELLI, ALTON FAIRCLOTH,
FRED HERAVI, SURESH IDNANI,
DAVID MOATS, RICH VOLDRICH,
MARK STEBLIN, ED HEALY,
ARVIND SHRESTHA, JOSH KENT,
MARK SCHULZE, RON RICHARDSON,
CHRISTOPHER LAFAY, ROBERT MILTON,
STEVE MIRAGLIA,
STEVE BLAUER,
MATTHEW DONIGHER,
THAHIRIH DONIGER,
KIM ELLIS,
WAYNE ENGLISH,
ROBERT GRIFFIN,
NANCY CUMMINGS, and
MARJORIE DAHLBERG, et al.; all individuals,
Derivatively on Behalf of PRIATEK, LLC,

                        Plaintiffs,
            v.

BOBBY TINSLEY, an individual, BRIAN
QUIMBY, an individual, SKUXCHANGE, LLC,
I2W TAMPA BAY, LLC, iTOUCH ORLANDO, LLC,
DREAMDAZE TECHNOLOGY, INC., et al.,

                        Defendants,
            and,

PRIATEK, LLC, a Delaware Limited Liability Company,

                        Nominal Defendant.
____________________________________________________/




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                      MOTION FOR LEAVE TO FILE AMENDED COMPLAINT

        Plaintiffs, Neal Engwall, et al. (“Plaintiffs”), respectfully requests this Court to grant leave to file

an Amended Complaint pursuant to Rule 15(a)(2) of the Federal Rules of Civil Procedure, and in support

of this motions says:

        1.       The Plaintiffs filed their original Complaint on March 18, 2022. (Doc. No. 1).

        2.       In haste to timely file their original complaint by the end of business day, Plaintiffs’ counsel

encountered software difficulties with formatting and filing the original complaint document, along with

failing to attach corresponding exhibits.

        2.       Per instructions of the Clerk of Court, Plaintiffs filed a correctly formatted complaint on

March 22, 2002 (Doc. No. 8).1

        2.       Plaintiffs have not served the Complaint on any defendant.

        3.       Rule 15(a)(2), F.R.Civ.P., allows Plaintiffs to amend their Complaint with the Court’s

leave. The rule further states that “The court should freely give leave when justice so requires.”

        4.       The Court should also grant the motion to prevent delay in the proceedings.                           The

substantive changes in the complaint are mainly the filing of exhibits.2

        5.       Leave to file an amended complaint would prevent service of an “incomplete” complaint

to a defendant(s) and allow case management to progress efficiently.

        WHEREFORE, Plaintiff prays that the Court grant this Motion and give leave to the Plaintiffs to

file their Amended Complaint.


March 27, 2022                                                Respectfully submitted,


1
 Document 8 is erroneously labeled as an “Amended” complaint. The document represents Plaintiffs’ original complaint.
2
 While the substantive change in the Amended Complaint would be to add the exhibits referenced in the Complaint, Plaintiffs’
Amended Complaint would also include additional allegations and exhibits, including ones to clarify certain exhibits; along
with revisions to the paragraph numbering of the complaint. Plaintiffs have not added additional claims to the original
complaint.




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                                      THE USMAN LAW FIRM, P.A.

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